Case 1:17-cr-00582-JMS-WRP Document 928 Filed 10/22/19 Page 1 of 15   PageID.11146
Case 1:17-cr-00582-JMS-WRP Document 928 Filed 10/22/19 Page 2 of 15   PageID.11147
Case 1:17-cr-00582-JMS-WRP Document 928 Filed 10/22/19 Page 3 of 15   PageID.11148
Case 1:17-cr-00582-JMS-WRP Document 928 Filed 10/22/19 Page 4 of 15   PageID.11149
Case 1:17-cr-00582-JMS-WRP Document 928 Filed 10/22/19 Page 5 of 15   PageID.11150
Case 1:17-cr-00582-JMS-WRP Document 928 Filed 10/22/19 Page 6 of 15   PageID.11151
Case 1:17-cr-00582-JMS-WRP Document 928 Filed 10/22/19 Page 7 of 15   PageID.11152
Case 1:17-cr-00582-JMS-WRP Document 928 Filed 10/22/19 Page 8 of 15   PageID.11153
Case 1:17-cr-00582-JMS-WRP Document 928 Filed 10/22/19 Page 9 of 15   PageID.11154
Case 1:17-cr-00582-JMS-WRP Document 928 Filed 10/22/19 Page 10 of 15
                           PageID.11155
Case 1:17-cr-00582-JMS-WRP Document 928 Filed 10/22/19 Page 11 of 15
                           PageID.11156
Case 1:17-cr-00582-JMS-WRP Document 928 Filed 10/22/19 Page 12 of 15
                           PageID.11157
Case 1:17-cr-00582-JMS-WRP Document 928 Filed 10/22/19 Page 13 of 15
                           PageID.11158
Case 1:17-cr-00582-JMS-WRP Document 928 Filed 10/22/19 Page 14 of 15
                           PageID.11159
Case 1:17-cr-00582-JMS-WRP Document 928 Filed 10/22/19 Page 15 of 15
                           PageID.11160
